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               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENSYLVANIA
_____________________________________________________________
                                  :
STEPHANIE GRAHAM,                 :
                                  :
           Plaintiff,             :
                                  :    Civil Action No. 24-6086
      v.                          :
                                  :
 JOHN SABATINA, Register of Wills :
                                  :
      and                         :
                                  :
CITY OF PHILADELPHIA,                  :
                                  :
           Defendants
____________________________________:


                    COMPLAINT – JURY TRIAL DEMANDED
Introduction
          1.   Plaintiff Stephanie Graham brings this action for a violation of her

rights under the First Amendment to the U.S. Constitution to freedom of speech

and association. An Administrative Deputy in the office of the Philadelphia

Register of Wills, Ms, Graham was fired on January 9, 2024 by the newly-elected

Register of Wills, Defendant John Sabatina, because of her political affiliation with

the previous Register of Wills whom Defendant Sabatina had defeated in the May,

2023 Democratic primary election.

Parties
          2.   Plaintiff Stephanie Graham (“Graham”) is a citizen of the United

Staes. She resides at 137 W. Abbottsford Ave. in Philadelphia, PA, 19144.

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       3.      Defendant John Sabatina (“Sabatina”) is the Register of Wills in

Philadelphia, PA. He is sued in his official capacity.

       4.     The City of Philadelphia is a City of the First Class that is capable of

being sued and is subject to the jurisdiction of this Court. Its office of the Register

of Wills is located in Room 180 City Hall, 1400 JFK Boulevard, Philadelphia, PA,

19104. Its Law Department is located at 1515 Arch Street, 14th Floor, Philadelphia,

PA, 19102.

Jurisdiction and Venue

       5.      Plaintiff brings this action pursuant to the Civil Rights Act of 1871,

42 U.S.C. Section 1983. This Court has jurisdiction under 28 U.S.C. Section 1331

(federal question) and 28 U.S.C. Section 1343(3) (civil rights).

       6.     Venue is appropriate in this Court as all relevant actions took place

within the City of Philadelphia.

Facts Giving Rise to Cause of Action

       7.     Plaintiff Graham was hired in July of 2020 as an Administrative

Assistant by the then-Register of Wills, Tracey Gordon (“Gordon”). In late 2021,

Gordon promoted Graham to the position of Administrative Deputy.

       8.     In the spring of 2023, Gordon was up for re-election to the position

of Register of Wills. Her opponent in the May, 2023 Democratic primary was

Defendant Sabatina.

       9.     Graham supported Gordon in her re-election campaign.
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       10.      Sabatina defeated Gordon in the Democratic primary election in May

of 2023. He won the general election in November of 2023, and he assumed office

on January 2, 2024.

       11.      On January 9, 2024, Defendant Sabatina’s Chief Deputy Register,

Bob Stewart, fired Plaintiff Graham, along with approximately 19 other

administrative employees in the office of the Register of Wills.

       12.      Mr. Stewart acted on behalf of Defendant Sabatina when he fired

Graham.

       13.      On information and belief, Sabatina fired Graham because she

supported Gordon in the Democratic primary election for Register of Wills.

                                 CAUSE OF ACTION

       14.      Sabatina retaliated against Graham because of her political beliefs

and her association with Tracey Gordon.

       15.      Graham was a good performer, and she was qualified to continue in

her employment in the office of the Register of Wills.

       16.      Political loyalty to Sabatina is not an appropriate requirement for

employment in the office of the Register of Wills.

       17.      Sabatina’s action violated Graham’s rights to freedom of speech and

association as guaranteed by the First Amendment to the U.S. Constitution.

       18.      Sabatina’s action violated the Civil Rights Act of 1871, 42 U.S.C.

Section 1983.


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       19.     Sabatina acted with reckless disregard for the plaintiff's federally

protected rights.

       20.     As a result of Sabatina’s unlawful act, Graham became unemployed,

and remains so today despite reasonable and diligent efforts to find gainful

substitute employment or to develop self-employment.

       21.    As a result of Sabatina’s unlawful act, Graham has experienced pain

and suffering in the forms of emotional distress, inconvenience, loss of enjoyment

of life, humiliation, embarrassment, and other non-economic losses.

       WHEREFORE, Plaintiff prays for the following relief:

              a) An award of lost earnings and benefits;

              b) An award of damages for her pain and suffering;

              c) An award of punitive damages;

              d) Reinstatement to suitable employment in the office of the

                    Register of Wills, or, in the alternative, an award of front pay;

              e) An award of costs and a reasonable attorneys’ fee; and

              f) Such other relief as the Court deems appropriate.


                                      By:           /s/
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Dated: November 13, 2024




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